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Attorney for Defendant
VKND KENDALL LLC,

a California limited liability
company

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

JAMES RUTHERFORD, Case No. CV20-01746-JGB-SP
DECLARATION OF FRANK
A. WEISER IN OPPOSITION
TO MOTION FOR SUMMARY
JUDGMENT

Plaintiff,

VS.

VKND KENDALL LLC,a California limited

liability company; and DOES 1-10, DATE: November 8, 2021

TIME: 9:00 a.m.
CTRM: |

Defendants.

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DECLARATION OF FRANK A. WEISER
I, FRANK A. WEISER, do hereby declare:
1. lam the attorney for the Defendant VEKND KENDALL LLC, a California limited
liability company (“Defendant”) and I make this declaration in support of the instant oppositio
to the Plaintiff JAMES RUTHERFORD’S (‘Plaintiff’) Motion for Summary Judgment
(“MSJ”)
2. On May 11, 2021, at approximately 12:16 a.m., I e-mailed Plaintiffs counsel
Joseph Manning, Esq. of Manning Law, APC, the Defendant’s Response to Requests for
Admission, Set One (“Response to RFAS”). A copy of the e-mail dated May 11, 2021 and the
Response to RFAS are attached hereto as Exhibit “A”.
3. On July 16, 2021, at approximately 6:13 p.m., 1 e-mailed Plaintiffs counsel
Joseph Manning, Esq. of Manning Law, APC, the Defendant’s verified Response to First Set
for Production of Documents and the verified Response to First Set of Interrogatories (“RI”
and “RPD”). A copy of the e-mail dated July 16, 2021 and the verified RI and RPD are
attached hereto as Exhibits “B” and “C”.
4. Iwasa week late on the Response to RFAS. I had a 3 week extension from Mr.
Manning’s office to respond to the RFAS which were due on May 3, 2021.

5. On May 12, 2021, at approximately 9:44 a.m., I received an e-mail
Tristan Jankowski, Esq., an associate in Mr. Manning’s office, objecting to the Defendant’s
late responses to the RFAS and acknowledging that I did have an extension until May 3, 2021.

A copy of Tristan Jankowski’s e-mail to me of May 12, 2021 is attached hereto as Exhibit

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6. On June 15, 2021, I filed an opposition to the Plaintiff's motion to compel written
discovery and produce documents and for sanctions. (Docket No. 25).
7. On October 18, 2021, I filed an ex-parte application to extend the time to file
an opposition to this motion or to continue this motion, and on October 25, 2021, I filed a
reply to the Plaintiff's opposition to the ex-parte application. (Civil Docket Nos. 25 and 37).
8. As I state in my declarations filed on June 15, 2021, October 18, 2021, and October
25, 2021, I have had a medical and family issues that have caused a serious backlog in my
trial and appellate practice and as a result I did not respond to the written discovery and
document production request until ordered by the magistrate judge to do so and I was also late
in responding to the RFAS.
9. The Defendant opposes this MSJ and, as will be argued in the memorandum
of points and authorities in opposition to the MSJ, I respectfully request that the Court
construe the Defendant’s opposition to the MSJ as a motion to withdraw or amend their
admissions pursuant to Federal Rule of Civil Procedure 36(b).
10. I recognize that that the Defendant’s opposition may be filed prior to the Court’s
ruling on the ex-parte application but I respectfully do so as I am appearing at a mandatory
settlement conference in the Los Angeles Superior Court later today and I may be unable to

file the opposition later should the Court grant the application and require its filing by today.

 
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11. Thus, the Defendant respectfully request that the Court deny the MSJ and allow the

case to be adjudicated on the merits..

I declare under penalty of perjury under the laws of the State of California

that the foregoing is true and correct.

Executed this 25th day of October 2021 at Los Angeles, California.

“BL OL Went

FRANK A. WEISER

 

 

 

 
